                 Case 3:16-cv-05685-BHS Document 37 Filed 02/15/17 Page 1 of 4




 1                                                                  The Honorable Benjamin H. Settle

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9   LINDA GILMER,
                                                            Case No. 3:16-cv-05685-BHS
10                      Plaintiff,
11          v.                                              DEFENDANTS’ STATUS REPORT
12   CENTENE CORPORATION, et al.,
13                      Defendants.
14

15          Defendants Centene Corporation, Centene Management Company, LLC, and

16   Coordinated Care Corporation (“Defendants”) respectfully submit this Status Report to provide

17   an update on the status of the parties’ Joint Status Report, which the Court ordered the parties to

18   submit in its order dated December 19, 2016.

19                                       I.     BACKGROUND
20          Plaintiff filed this case on May 6, 2016, in the United States District Court for the

21   Western District of Missouri, Western Division, asserting a single federal cause of action under

22   the Sarbanes-Oxley Act, 18 U.S.C. 1541A, for wrongful termination. Dkt. #1. Defendants filed

23   a Motion to Dismiss the Case for Improper Venue or, in the Alternative, to Transfer Venue. Dkt.

24   #10. Plaintiff consented to the transfer of the matter to this Court, and on August 3, 2016,

25   Defendants’ motion to transfer venue was granted. Dkt. #19.

26

     DEFENDANT’S STATUS REPORT - 1                                            LITTLER MENDELSON, P.C.
                                                                                    One Union Square
     Case No. 3:16-cv-05685-BHS                                              600 University Street, Suite 3200
                                                                                 Seattle, WA 98101.3122
                                                                                       206.623.3300
                  Case 3:16-cv-05685-BHS Document 37 Filed 02/15/17 Page 2 of 4




 1              On August 5, 2016, the Clerk of this Court filed a letter directing the parties to associate

 2   local counsel in the District, pursuant to the requirements of LCR 83.1(d)(1). Defendants

 3   immediately complied with this requirement on August 12, 2016. Dkt. #22-24. Plaintiff did not

 4   comply with the Court’s directive until December 20, 2016. Dkt. #34-35.

 5              On September 12, 2016, the Court entered an Order Regarding Initial Disclosures, Joint

 6   Status Report, and Early Settlement, which set initial case scheduling deadlines in this matter for

 7   December 2016 and January 2017. Dkt. #28. On December 19, 2016, the Parties filed a

 8   Stipulated Motion to extend those deadlines while Plaintiff secured local counsel. Dkt. #29. The

 9   Court granted the Parties’ Stipulated Motion, and continued the deadline for the FRCP 26(f)

10   Conference to January 25, 2017 and the Combined Joint Status Report to February 15, 2017.

11   Dkt. #30. Defendants filed their Answers to Plaintiff’s Complaint on December 20, 2016. Dkt.

12   #31-33. 1

13                II.     STATUS REPORT AS TO INITIAL SCHEDULING DEADLINES
14              Defendants have made good-faith efforts to cooperate with Plaintiff in complying with
15   the Court’s initial scheduling deadlines. Defendants’ counsel contacted Plaintiff’s counsel on
16   January 20, 2017 to propose dates for the FRCP 26(f) Conference. See Exhibit 1. Plaintiff’s
17   counsel responded that Plaintiff intended to seek dismissal of this action, and re-file her claim in
18   state court as a wrongful termination in violation of public policy claim. See Exhibit 2. In

19   response to Plaintiff’s request that Defendants stipulate to the dismissal of this action,

20   Defendants asked that Plaintiff provide a copy of her proposed state-law complaint. Id. Plaintiff

21   refused, and stated on January 27, 2017 that she would file a motion for an order dismissing the

22   case. Id. Defendants responded on the same day that they would oppose such a motion. Id.

23

24

25

26   1
         The Parties had agreed to extend the deadline for Defendants’ Answers, which the Court approved. Dkt. #29-30.


     DEFENDANT’S STATUS REPORT - 2                                                         LITTLER MENDELSON, P.C.
                                                                                                 One Union Square
     Case No. 3:16-cv-05685-BHS                                                           600 University Street, Suite 3200
                                                                                              Seattle, WA 98101.3122
                                                                                                    206.623.3300
              Case 3:16-cv-05685-BHS Document 37 Filed 02/15/17 Page 3 of 4




 1                III.   DEFENDANTS OPPOSE DISMISSAL OF THIS ACTION

 2          After consenting to transfer her case to this Court from the Western District of Missouri,

 3   and then delaying for months to enter an appearance through local counsel and wasting the time

 4   and resources of this Court and Defendants, Plaintiff now proposes to engage in a naked forum

 5   shopping effort to re-file essentially the same claim in state court. Defendants have a number of

 6   reasons for opposing dismissal of this action, which they will present to the Court if or when

 7   Plaintiff files a motion to dismiss. In the interim, Defendants are unable to comply with the

 8   Court’s Joint Status Report deadline because Plaintiff has declined to meet and confer with

 9   Defendants to discuss and prepare such a report.

10   February 15, 2017

11
                                                        s/ Breanne Sheetz Martell
12                                                      Douglas E. Smith, WSBA #17319
                                                        DESmith@littler.com
13                                                      Breanne Sheetz Martell, WSBA #39632
                                                        BSMartell@littler.com
14                                                      LITTLER MENDELSON, P.C.
                                                        One Union Square
15                                                      600 University Street, Suite 3200
                                                        Seattle, WA 98101.3122
16                                                      Phone:        206.623.3300
                                                        Fax:          206.447.6965
17
                                                        Bradley M. Bakker, admitted pro hac vice
18                                                      bbakker@armstrongteasdale.com
                                                        Jovita Foster, admitted pro hac vice
19                                                      jfoster@armstrongteasdale.com
                                                        ARMSTRONG TEASDALE LLP
20                                                      7700 Forsyth Blvd.
                                                        Ste. 1800
21                                                      St. Louis, MO 63105
                                                        Phone:          314.342.8069
22                                                      Fax:            314.552.4854
23                                                      Attorneys for Defendants
                                                        Centene Corporation,
24                                                      Centene Management Company, LLC, and
                                                        Coordinated Care Corporation
25

26

     DEFENDANT’S STATUS REPORT - 3                                           LITTLER MENDELSON, P.C.
                                                                                   One Union Square
     Case No. 3:16-cv-05685-BHS                                             600 University Street, Suite 3200
                                                                                Seattle, WA 98101.3122
                                                                                      206.623.3300
                 Case 3:16-cv-05685-BHS Document 37 Filed 02/15/17 Page 4 of 4




 1                                      CERTIFICATE OF SERVICE

 2            I am a resident of the State of Washington, over the age of eighteen years, and not a party

 3   to the within action. My business address is One Union Square, 600 University Street, Ste. 3200,

 4   Seattle, WA 98101. On February 15, 2017, I electronically filed the foregoing document with

 5   the Clerk of the Court using the CM/ECF, which will send notification of such filing to the

 6   following:

 7
     Attorneys for Plaintiff                           Attorneys for Plaintiff
 8
     Lewis M. Galloway                                 Jesse Andrew Wing, WSBA #27751
 9   Pro Hac Vice                                      Pro Hac Vice
     lewis@lglawllc.com                                jessew@mhb.com
10   LG LAW LLC                                        MACDONALD HOAGUE & BAYLESS
     1600 Genessee St.                                 705 Second Avenue, Suite 1500
11   Suite 918                                         Seattle, Washington 98104
     Kansas City, MO 64102                             Phone:        206.622.1604
12   Phone:       877.887.7608                         Fax:          206.343.3961
     Fax:         816.326.0820
13

14            Executed on this 15th day of February, 2017.
15
                                            s/ Sally Swearinger
16                                          Sally Swearinger
                                            LITTLER MENDELSON P.C.
17                                          sswearinger@littler.com

18   Firmwide:145836674.1 082220.1018


19

20

21

22

23

24

25

26

     DEFENDANT’S STATUS REPORT - 4                                             LITTLER MENDELSON, P.C.
                                                                                     One Union Square
     Case No. 3:16-cv-05685-BHS                                               600 University Street, Suite 3200
                                                                                  Seattle, WA 98101.3122
                                                                                        206.623.3300
